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2                                                                               FILED IN THE
                                                                            U.S. DISTRICT COURT
                                                                      EASTERN DISTRICT OF WASHINGTON
3
                                                                       Sep 14, 2020
4                                                                          SEAN F. MCAVOY, CLERK




5                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WASHINGTON
6

7     UNITED STATES OF AMERICA,
                                                   NO: 2:18-CR-152-RMP-1
8                                 Plaintiff,
                                                   ORDER ON MOTION FOR
9           v.                                     SENTENCE REDUCTION UNDER 18
                                                   U.S.C. § 3582(c)(1)(A)
10    EDUARDO GABRIEL DANIEL,
                                                   (COMPASSIONATE RELEASE)
11                                Defendant.

12

13         Upon motion of Defendant Eduardo Gabriel Daniel for a reduction in sentence

14   under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors

15   provided in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the

16   Sentencing Commission, the Court finds that compassionate release is not supported

17   by the facts of this case.

18         Defendant previously had requested compassionate release from the warden at

19   his facility on June 2, 2020, ECF No. 78-1at 91, and the warden denied that request

20   on June 29, 2020, ECF No. 78-1at 92, the same date as Defendant filed his motion in

21   this court. ECF No. 66.
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1          Defendant represents that compassionate release is justified because he has a

2    history of asthma and because he is in close proximity with 400 inmates during the

3    COVID-19 pandemic. ECF No. 66; ECF No. 78 at 13, 23. The Government disputes

4    that Defendant is an appropriate candidate for compassionate release because Mr.

5    Daniel’s expressed history with asthma was not documented until recently, is not

6    severe, and based on the totality of the circumstances Mr. Daniel has not met his

7    burden for compassionate release. ECF No. 73 at 21; ECF No 80 at 5.

8          Federal Rule of Criminal Procedure 35 generally delineates the parameters of a

9    district court’s ability to modify a prison sentence once judgment is entered. That

10   provision offers no relief to Mr. Daniel. However, 18 U.S.C. § 3582(c)(1)(A)

11   provides an opportunity for a reduced sentence if, after the Court considers the

12   factors under 18 U.S.C. § 3553(a) to the extent that they are applicable, the Court

13   finds that “extraordinary and compelling reasons warrant such a reduction” and the

14   reduction is “consistent with applicable policy statements issued by the Sentencing

15   Commission[.]”

16         The U.S. Sentencing Commission has issued a policy statement recognizing

17   certain circumstances as “extraordinary and compelling reasons” for purposes of

18   compassionate release, so long as “the defendant is not a danger to the safety of any

19   other person or to the community, as provided in 18 U.S.C. § 3142(g)”:

20         (A) Medical Condition of the Defendant.—

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1             (i)      The defendant is suffering from a terminal illness (i.e., a
                       serious physical and advanced illness with an end of life
2                      trajectory) . . . .
               (ii) The defendant is—
3                      (I)    suffering from a serious physical or medical condition,
                       (II) suffering from a serious functional or cognitive
4                             impairment, or
                       (III) experiencing deteriorating physical or mental health
5                             because of the aging process,
                              that ‘substantially diminishes the ability of the
6                             defendant to provide self-care within the environment
                              of a correctional facility and from which he or she is
7                             not expected to recover.’
           (B) Age of the Defendant.—The defendant (i) is at least 65 years old;
8              (ii) is experiencing a serious deterioration in physical or mental
               health because of the aging process; and (iii) has served at least 10
9              years or 75 percent of his or her term of imprisonment, whichever
               is less.
10         (C) Family Circumstances—
               (i)     The death or incapacitation of the caregiver of the
11                     defendant’s minor child or minor children.
               (ii) The incapacitation of the defendant’s spouse or registered
12                     partner when the defendant would be the only available
                       caregiver for the spouse or registered partner.
13         (D)Other Reasons—As determined by the Director of the Bureau of
               Prisons, there exists in the defendant’s case an extraordinary and
14             compelling reason other than, or in combination with, the reasons
               described in subdivisions (A) through (C).
15
     U.S. Sentencing Guidelines Manual (“USSG”) § 1B1.13.
16
           Until December 21, 2018, the Court could reduce a term of imprisonment for
17
     extraordinary and compelling reasons only upon motion by the Director of the
18
     United States Bureau of Prisons (“BOP”). Following enactment of the First Step
19
     Act, a federal prisoner may move on his own behalf for a sentence reduction and
20
     compassionate release after exhausting all administrative appeals of the BOP’s
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1    refusal to bring such a motion or after “lapse of 30 days from the receipt of such a

2    request by the warden of the defendant’s facility, whichever is earlier.” 18 U.S.C. §

3    3582(c)(1)(A). Section 1B1.13, USSG, has not been updated since enactment of the

4    First Step Act. 1

5            Mr. Daniel applied to the warden at Lompoc for compassionate release on June

6    2, 2020. ECF No. 78-1. The warden denied his motion on June 29, 2020. ECF No.

7    Id. Therefore, the Court concludes that Mr. Daniel exhausted his administrative

8    appeal and this Court has jurisdiction to consider his motion for compassionate

9    release.

10           The Court next turns to whether Mr. Daniel has presented a sufficient basis to

11   support that he has “extraordinary and compelling” circumstances that would justify

12   compassionate release in light of both 18 U.S.C. § 3582(c) and 18 U.S.C. §3553(a),

13   which the United States Sentencing Commission directs courts to consider. U.S.S.G

14   § 1B1.13.

15           Mr. Daniel relies on his medical records indicating that he had a history of

16   asthma and that he related asthma concerns to BOP on August 28, 2020. ECF No.

17   78-1, Attachments A-4; A-10; A-34; A-69. However, as the Government points out,

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       The Court takes judicial notice that as of the date of this order, there are an
     insufficient number of confirmed commissioners to comprise a quorum for
21   purposes of amending the USSG.

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1    the record does not reflect that Mr. Daniel’s asthma concerns rise to the level of a

2    serious condition. ECF No. 80 at 2-4.

3          The remainder of Mr. Daniel’s argument concerns the premature birth of his

4    child, which is developmentally delayed, and the general danger that COVID-19

5    creates, especially for those individuals incarcerated in prisons. ECF No. 78.

6    However, as the Government notes, the threat presented by COVID-19 is not limited

7    just to incarcerated populations and the pandemic is being actively managed by the

8    BOP within federal institutions in a responsible manner. ECF No. 73. The Court

9    does not accept the existence of COVID-19 in a BOP facility as a basis for releasing

10   the inmates of that facility. If the Court adopted that conclusion, then most, if not all,

11   incarcerated individuals would need to be released, which the Court does not find

12   practicable. Fortunately for Mr. Daniel’s child, the record reflects that the child’s

13   mother is available as a care-giver.

14         Moreover, the factors to be considered in imposing a sentence under 18 U.S.C.

15   §3553(a) further weigh against compassionate release for Mr. Daniel, especially “the

16   nature and circumstances of the offense and the history and characteristics of the

17   defendant.” 18 U.S.C. §3553(a)(1). Mr. Daniel is approximately 41 years old. He

18   entered into a plea agreement with the Government for an agreed sentence of 84

19   months. ECF No. 50. The offense to which he pleaded guilty involved significant

20   amounts of drugs and involvement of firearms. Id. Mr. Daniel would have faced a

21   significantly higher sentencing range without the plea agreement which resulted in
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1    the Government’s agreeing not to file an enhancement for his prior drug conviction

2    and for his possession of firearms. Id.

3          The Court finds that Mr. Daniel’s long criminal history and involvement with

4    controlled substance abuse, as well as possession of firearms, indicates that his

5    release would present a likelihood of future crimes by the defendant. See 18 U.S.C. §

6    3553(a)(2)(C). Moreover, the nature of the crimes, distribution of controlled

7    substances, present a risk of danger to others in the community. See 18 U.S.C. §

8    3142(g). Therefore, the Court concludes that the § 3553 factors weigh against

9    allowing Mr. Daniel compassionate release under the circumstances presented on the

10   record.

11         Accordingly, IT IS HEREBY ORDERED that Defendant’s Motion for

12   Compassionate Release, ECF No. 66, is DENIED.

13         IT IS SO ORDERED. The District Court Clerk is directed to enter this Order

14   and provide copies to counsel and to the U.S. Probation Office.

15         DATED September 14, 2020.

16
                                                  s/ Rosanna Malouf Peterson
17                                             ROSANNA MALOUF PETERSON
                                                  United States District Judge
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